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 9                        UNITED STATES DISTRICT COURT
10                      FOR THE DISTRICT OF WASHINGTON
11
12 UNITED STATES OF AMERICA                     No. CR-13-096-RHW-5

13                     Plaintiff,              ORDER DENYING AS MOOT
14                                             UNITED STATES’ MOTION
     vs.                                       FOR RECONSIDERATION OF
15                                             TEMPORARY RELEASE ORDER
16 DANIELLE CHRISTINE RANGEL,
17
                       Defendant.
18
19         On November 26, 2013, the parties appeared on the United States’ Motion
20   for Reconsideration of Temporary Release Order. Defendant was present and in
21   custody.
22         The parties agreed that the available bed date at an inpatient substance
23   treatment facility, which was a condition precedent to implementing the Order to
24   be reconsidered, is no longer available. Therefore the United States’ Motion is
25   denied as moot, and Defendant shall remain in custody.
26         Should a bed date materialize in the future and a Motion for Temporary
27   Release Pending Sentencing again be contemplated, the parties shall confirm with
28   the assigned District Judge where the matter shall be heard, and schedule oral



     ORDER - 1
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 1   argument accordingly.
 2         The United States’ Motion, ECF No. 539, is DENIED as moot.
 3         IT IS SO ORDERED.
 4         DATED November 26, 2013.
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 6                            _____________________________________
                                        JOHN T. RODGERS
 7                             UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
